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OCT 15 2010

_- IN THE UNITED STATES DISTRICT COURT David J. Bradley, Clerk of Court
FOR THE SOUTHERN DISTRICT OF TEXAS —

HOUSTON DIVISION

UNITED STATES OF AMERICA,
ex rel. Elizabeth W. Kennedy

STATE OF ILLINOIS, ex rel.
Elizabeth W. Kennedy;

STATE OF CALIFORNIA, ex rel.
Elizabeth W. Kennedy;

STATE OF FLORIDA, ex rel.
Elizabeth W. Kennedy;

STATE OF TENNESSEE, ex rel.
Elizabeth W. Kennedy;

STATE OF TEXAS, ex rel.
Elizabeth W. Kennedy;
COMMONWEALTH OF
MASSACHUSETTS, ex rel.
Elizabeth W. Kennedy;

STATE OF DELAWARE, ex rel.
Elizabeth W. Kennedy;

STATE OF NEVADA, ex rel.
Elizabeth W. Kennedy;

STATE OF LOUISIANA, ex rel.
Elizabeth W. Kennedy;

STATE OF HAWAII, ex rel.
Elizabeth W. Kennedy;
DISTRICT OF COLUMBIA, ex rel.
Elizabeth W. Kennedy;
COMMONWEALTH OF
VIRGINIA, ex rel.

Elizabeth W. Kennedy;

STATE OF GEORGIA, ex rel.
Elizabeth W. Kennedy;

STATE OF INDIANA, ex rel.
Elizabeth W. Kennedy;

STATE OF MICHIGAN, ex rel.
Elizabeth W. Kennedy;

STATE OF MONTANA, ex rel.
Elizabeth W. Kennedy;

STATE OF NEW HAMPSHIRE, ex rel.
Elizabeth W. Kennedy;

STATE OF NEW JERSEY, ex rel.

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CIVIL ACTION J
FILED UNDER SEAL

PLAINTIFF’S ORIGINAL
COMPLAINT PURSUANT TO 31
U.S.C. §§ 3729-3732, FEDERAL
FALSE CLAIMS ACT AND VARIOUS
STATE FALSE CLAIMS ACTS, AND
PENDENT STATE CLAIMS

JURY TRIAL DEMANDED
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Elizabeth W. Kennedy;

STATE OF NEW MEXICO, ex rel.
Elizabeth W. Kennedy;

STATE OF NEW YORK, ex rei.
Elizabeth W. Kennedy;

STATE OF OKLAHOMA, ex rei.
Elizabeth W. Kennedy;

STATE OF RHODE ISLAND, ex rel.
Elizabeth W. Kennedy;

STATE OF WISCONSIN, ex rel.
Elizabeth W. Kennedy;

STATE OF CONNECTICUT, ex rei.
Elizabeth W. Kennedy;

STATE OF NORTH CAROLINA, ex rel.
Elizabeth W. Kennedy;

STATE OF COLORADO, ex rel.
Elizabeth W. Kennedy;

STATE OF MARYLAND, ex rei.
Elizabeth W. Kennedy;

CITY OF CHICAGO ex rel.
Elizabeth W. Kennedy;

STATE OF MINNESOTA ex rei.
Elizabeth W. Kennedy;

Plaintiffs,
Vv.

NOVO A/S;

NOVO NORDISK, A/S;

NOVO NORDISK FOUNDATION
NOVO NORDISK, INC.;

SOR U2 COR CO? LO? (O02 KO? 6 SO? LO? WO? CO? KO? OD 40D 8? 4D 60? 40D KO? KH? 4? LOD 4D HO? KO 60? 4? 40D CO? 40D SOD HO? LOD

Defendants.

RELATOR ELIZABETH W. KENNEDY’S ORIGINAL COMPLAINT

il
Il.

I.

IV.

VI.

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TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

The United States of America, the States of California, Colorado, Connecticut, Delaware,
Florida, Georgia, Hawaii, Illinois, Indiana, Louisiana, Maryland, Michigan, Minnesota,
Montana, Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina,
Oklahoma, Rhode Island, Tennessee, Texas, and Wisconsin, the Commonwealths of
Massachusetts and Virginia, the District of Columbia, and the City of Chicago, by and through
qui tam Relator Elizabeth W. Kennedy, brings this action under 31 U.S.C. §§ 3729-3732 (‘False
Claims Act”) to recover all damages, penalties, and other remedies established by the False
Claims Act on behalf of the United States and themselves and would show the following:

I. INTRODUCTION

“Victoza was discussed ... I don’t think it was the ideal drug for diabetics 2 for
several reasons. One of them they’re talking about watching for thyroid cancer,
talking about for watching for pancreatitis and an injection in a patient that, you
know, for the first time heard about being, not even a diabetic, but maybe metabolic
syndrome or pre-diabetic go with an injection. I don’t think they’re gonna take,
they’re gonna start flying right away, needs a lot of convincing to do, alright?”

- Primary care doctor, commenting on Victoza detail, Week 6 after launch
(pg.58)

“J discussed how I like Victoza more than Byetta, the once a day product, but I was
hoping for more samples. She was going to leave 2, but she left 4 instead. And also
mentioned they have the coupon copay cards because it’s on formulary but it’s 3rd
tier and they want to bring it down to 2nd tier. And so we discussed that and I called
2 of my patients that I was hoping to get on Victoza while she was still there just so I
can show them how to use the shot themselves in the office. And she was very
excited J had already had 3 patients on the product.”

- Presumably different primary care doctor, commenting on Victoza detail,
Week 7 after launch (pg. 58)

“Novo Nordisk A/S, the world’s biggest diabetes-drug maker, raised its 2010
forecast for the second time this year after first-quarter profit beat analyst
estimates on higher-than-expected sales of a new medicine. First-quarter net
income rose 23 percent to 3.32 billion kroner ($596 million), beating a 2.96 million-
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kroner average estimate by nine analysts. Analysts expect Victoza sales to reach
1.14 billion kroner [about $145 million] this year, according to Bloomberg data.
Half of patients receiving GLP-1 treatments in the 10th week after the introduction
of Victoza are receiving the Novo drug [rather than Byetta], [Jesper Brandgaard,
Novo’s chief financial officer] said. Sixty percent of patients being prescribed
Victoza have failed to control their blood sugar using conventional oral treatments
such as metformin, and between 10 percent and 15 percent are being treated for the
first time, Brandgaard said. Another 10 percent are switching from insulin, while
the remaining 15 percent to 20 percent switch from Byetta, he said. ‘It looks like
we are able to grow the market and that is what is crucial to the success of GLP-1s,’
he said.”
“Novo Nordisk Lifts 2010 Revenue, Profit Forecasts,’ Bloomberg
Businessweek website, available at http://www.businessweek.com/news/2010-
04-27/novo-nordisk-lifts-2010-revenue-profit-forecasts-update 1 -.html.

1. In January of 2010, the FDA approved Novo Nordisk’s' diabetes drug, Victoza,
as an adjunct therapy, but not a first-line treatment, for the treatment of type 2 diabetes. Novo
Nordisk wasted no time in illegally marketing the drug to American diabetics and their
physicians for a host of off-label uses. Novo Nordisk began marketing Victoza as a first-line
therapy and a weight loss drug. Further, without scientific support or the FDA’s approval, Novo
Nordisk promised the diabetic community that Victoza can reverse diabetes and restore kidney
function. Perhaps even more irresponsibly, Novo Nordisk began claiming that Victoza could
prevent diabetes in pre-diabetics suffering from metabolic syndrome. Novo Nordisk also began
making competitive statements about Victoza versus Byetta, a competitor drug, and began
detailing” physicians on that subject using a “Leave-Behind” reprint. Finally, since the time of
launch, Novo Nordisk has marketed Victoza off-label by downplaying its safety issues and side

effects. Novo Nordisk trained its sales force to make all of these assertions, and it continues to

market Victoza accordingly today.

 

' Unless otherwise noted, reference to “Novo Nordisk” is a reference to Novo Nordisk, Inc., Novo Nordisk A/S, Novo
Nordisk Foundation, and Novo A/S, collectively.

° When a sales representative “details” a physician, often during a call to the physician’s office, the representative makes his
or her sales pitch concerning one or more drug for which the representative is responsible.

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2. In fact, while Novo Nordisk no longer allows its sales representatives to
document the substance of their calls on physicians with “call notes,” market research reports
circulated to the sales force, including verbatim notes from interviews with doctors after
receiving visits from Novo Nordisk sales representatives, reflect the rampant extent of illegal off-
label marketing in the field. See Ex. 1, Impact RX Report Week 6; Ex. 2, Impact RX Report
Week 7.

3. Novo Nordisk’s Victoza campaign targeting non-diabetics and diabetics alike
constitutes a massive fraud upon Medicaid, Medicare, and other government health programs,
which in the last nine months have paid significant funds for Victoza for their enrollees. Further,
kickbacks to doctors have played an important role in disseminating Novo Nordisk’s off-label
messages. Novo Nordisk’s false and misleading claims about Victoza have already led to
misconceptions by patients and physicians about the inappropriate treatment of diabetic and pre-
diabetic patients, misconceptions likely to increase commensurately with Victoza’s swiftly-
growing sales. As a result of this nationwide scheme, Novo Nordisk has violated and continues
to violate the False Claims Act and reap profits far beyond those it could achieve from legitimate
promotion.

Il. PARTIES
A. Relator’s Background

4, Relator Elizabeth W. Kennedy (“Kennedy” or “Relator’”)}—a citizen of the United
States and resident of the State of Alabama—has lived in Mobile, Alabama since childhood. The
daughter of an endocrinologist with a specialty in diabetes, Kennedy grew up attending summer
camps with children suffering from diabetes. It was her longstanding interest in diabetes that

drew her to her first pharmaceutical sales position. In December 2006, Eli Lilly hired Kennedy
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as a Diabetes Care Representative promoting diabetes drugs such as Glucagon, Humalog, and
Byetta. Two years later, Novo Nordisk convinced her to accept a job promoting rival diabetes
drugs. On January 5, 2009, approximately one year before Victoza’s launch, Kennedy took the
position of Diabetes Care Specialist II with Novo Nordisk. During her tenure with Novo
Nordisk, she marketed Victoza and Novo Nordisk’s other diabetes drugs. Kennedy was
terminated on April 22, 2010 after disclosing to Human Resources details surrounding the
company’s off-label marketing scheme for Victoza.

B. Background on Defendants

5. Defendant Novo Nordisk A/S is an unlisted, public limited liability company
organized in Denmark. Its principal place of business is Novo Allé, 2880 Bagsvzerd, Denmark.
Novo Nordisk A/S conducts extensive business in the States of California, Colorado,
Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Louisiana, Maryland,
Michigan, Minnesota, Montana, Nevada, New Hampshire, New Jersey, New Mexico, New York,
North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, and Wisconsin, the
Commonwealths of Massachusetts and Virginia, the District of Columbia, and the City of
Chicago.

6. Defendant Novo Nordisk, Inc. is a publicly traded corporation organized in
Delaware. Its principal place of business is 100 College Road West, Princeton, NJ 08540. Novo
Nordisk, Inc. conducts extensive business in the States of California, Colorado, Connecticut,
Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Louisiana, Maryland, Michigan,
Minnesota, Montana, Nevada, New Hampshire, New Jersey, New Mexico, New York, North
Carolina, Oklahoma, Rhode Island, Tennessee, Texas, and Wisconsin, the Commonwealths of

Massachusetts and Virginia, the District of Columbia, and the City of Chicago. Novo Nordisk,
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Inc. may be served through its registered agent, CT Corporation System, 5615 Corporate Blvd.,
STE. 400B, Baton Rouge, LA 70808.

7. Defendant Novo Nordisk Foundation is an independent Danish, for-profit,
commercial foundation. Its principal place of business is Tuborg Havnevej 19, 2900 Hellerup,
Denmark. Novo Nordisk Foundation conducts extensive business in the States of California,
Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Illinois, Indiana, Louisiana,
Maryland, Michigan, Minnesota, Montana, Nevada, New Hampshire, New Jersey, New Mexico,
New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, and Wisconsin, the
Commonwealths of Massachusetts and Virginia, the District of Columbia, and the City of
Chicago.

8. Defendant Novo A/S is a Danish private limited liability company. Its principal
place of business is Tuborg Havnevej 19, 2900 Hellerup, Denmark. Novo A/S conducts
extensive business in the States of California, Colorado, Connecticut, Delaware, Florida,
Georgia, Hawaii, Illinois, Indiana, Louisiana, Maryland, Michigan, Minnesota, Montana,
Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma,
Rhode Island, Tennessee, Texas, and Wisconsin, the Commonwealths of Massachusetts and
Virginia, the District of Columbia, and the City of Chicago.

9, Defendants Novo Nordisk, Inc., Novo Nordisk A/S, Novo Nordisk Foundation,
and Novo A/S are hereinafter referred to collectively as “Novo Nordisk” or “Defendants.”

10. Defendants trace their origins to two Danish companies, Nordisk Insulin
Laboratorium and Novo Terapeutisk Laboratorium, each of which began manufacturing insulin
for the treatment of diabetes in the 1920s, soon after Canadian researchers first successfully

began treating diabetic patients with insulin extracted from bovine pancreases. The two
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companies maintained their focus on the treatment of diabetes until they merged in 1989,
creating Novo Nordisk A/S. Diabetes remains the focus of Novo Nordisk’s research and
manufacture; the company also manufactures pharmaceutical products for the treatment of
hemophilia and growth hormone deficiency.

11. | Novo Nordisk continues to manufacture insulin products, such as Levemir and
NovoLog. It also manufactures Prandin and Glucagen, two other diabetes-related drugs. On
January 25, 2010, Novo Nordisk launched Victoza, designed to compete against the new wave of
diabetes drugs that include Eli Lilly’s drug, Byetta.

HI. JURISDICTION AND VENUE

12. — Jurisdiction and venue are proper in this Court pursuant to the False Claims Act
(31 U.S.C. § 3732(a)) because Relator’s claims seek remedies on behalf of the United States for
multiple violations of 31 U.S.C. § 3729 in the United States by all or any one of Defendants,
some of which occurred in the Southern District of Texas, and because all or any one of
Defendants transact other business within the Southern District of Texas. All defendants are
subject to the general and specific personal jurisdiction of this Court. As a result of Novo A/S’s
organizational structure, Novo A/S, Novo Nordisk A/S, and Novo Nordisk Foundation have
continuous and systematic contacts with the United States through its contacts with its American
subsidiaries.

13. This Court also has jurisdiction over actions brought under the laws of the various
states since this action arises from the same transactions or occurrences. 31 U.S.C. § 3732(b).

IV. RESPONDEAT SUPERIOR AND VICARIOUS LIABILITY
14. Any and all acts alleged herein to have been committed by any or all of the

Defendants were committed by said Defendants’ officers, directors, employees, representatives
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or agents who at all times acted on behalf of their respective Defendant(s) and within the course
and scope of their employment.

15. | The Defendants are related entities sharing common employees, offices and
business names such that they are joint and severally liable under legal theories of respondeat
superior. Further, the past, present and continuing relations and dealings by and between these
related entities are so inextricably intertwined that for purposes of this suit, some or all of them
can and should be considered as a single entity at law and equity.

16. The Novo Nordisk Foundation—an independent Danish, for-profit, commercial
foundation—wholly owns Novo A/S. Novo A/S, which was established in 1999, is a Danish
private limited liability company and is the holding company in the Novo Group, and is the
majority shareholder of Novo Nordisk A/S.

17. Additionally, the Board of Directors for Novo A/S and the Board of Directors for
the Novo Nordisk Foundation overlap: Ulf J. Johansson is both the Chairman of the Board of the
Novo Nordisk Foundation and the Chairman of Novo A/S’s Board of Directors; and Jergen Boe
is both the Vice Chairman of the Board of the Novo Nordisk Foundation and serves on Novo
A/S’s Board of Directors.

18. Novo Nordisk A/S, incorporated on November 28, 1931, is a large multinational
group of companies that engage or have engaged in a variety of business activities, including
developing, marketing, and selling pharmaceutical products, all of which is or was accomplished
through Novo Nordisk A/S’s operating groups, subsidiaries, officers, directors, employees, and
agents. Novo Nordisk A/S contains both operating groups and regional companies, for the most
part generally organized by location, including companies operating throughout the United

States. The functions of these operating groups and regional companies overlap. Novo Nordisk
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A/S was formally established in 1989. Novo Nordisk has production facilities in seven countries
and affiliates and offices in seventy-six countries. As of December 2009, Novo Nordisk A/S had
over 29,000 employees in multiple countries (Denmark: 13,433; North America: 4,076; Japan &
Oceania: 1,010; International operations: 6,557; Europe: 4,253).

19. Novo Nordisk, Inc. is an American, wholly-owned subsidiary of Novo Nordisk
A/S. Novo Nordisk A/S oversees and coordinates the activities of Novo Nordisk, Inc.’s
businesses in the United States. For example, at the end of the January 26, 2010 press release
issued on Novo Nordisk, Inc’s website announcing the FDA’s approval of Victoza, it states that
the media and investors may contact persons in Denmark and in the United States. And on April
14, 2010, Gulf Coast Regional Sales Manager Christopher Dowdy, sent an e-mail to the Gulf
Coast sales force, including Relator and others, with an attachment regarding Victoza
Telesessions, which has “©2010 Novo Nordisk A/S.” Thus, Novo Nordisk A/S is approving of
the marketing activities of Novo Nordisk, Inc.

V. REGULATORY BACKGROUND

A. The FDA’s Role in the Regulation of Prescription Drugs
i. FDA Approval of Prescription Drugs

20. The FDA regulates human use of pharmaceutical drugs such as Victoza.
Companies seeking to introduce new drugs for human use into interstate commerce must comply
with FDA statutes and regulations, such as the Federal Food, Drug, and Cosmetic Act
(“FDCA”). 21 U.S.C. § 301 et seg. The FDCA prohibits companies from distributing in
interstate commerce any drugs that the FDA has not approved as safe and effective. 21 U.S.C. §
355(a) and (b).

21. In order for a company to gain approval of a drug by the FDA, the company must

first submit and receive approval of a New Drug Application (“NDA”) pursuant to 21 U.S.C. §
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355. The company is required to include in its NDA all intended uses proposed for a new drug’s
labeling and to prove that the new drug is safe and effective for those uses. 21 U.S.C. § 355(b).
To prove that the drug is safe and effective, the company must provide the FDA with data from
scientifically sound clinical trials. The FDA will refuse approval of a new drug unless, on the
basis of all information reviewed, it is demonstrated that a drug can safely accomplish its
purported effect under the conditions proposed, and that the method of manufacture and
distribution will properly preserve the drug for this purpose. 21 U.S.C. § 355(d).

ii. FDA Regulation of Manufacturers’ Marketing of Prescription Drugs

22. | When the FDA reviews an NDA and approves a drug for interstate distribution,
the approval is only effective for the intended uses that were proposed in the NDA and described
on the drug’s approved label. Any use for a drug that was not proposed in the NDA and
approved for the label by the FDA is referred to as “unapproved” or “off-label.” 65 Fed. Reg.
14286, 14286 (Mar. 16, 2000). Although physicians may prescribe a drug for an off-label use so
long as the drug has been FDA-approved for some use, pharmaceutical companies are strictly
prohibited from bypassing the FDA’s approval process and marketing a drug for an off-label use.

23. When a company markets a drug off-label, the drug becomes a new drug for that
purpose and is considered “misbranded.” See 21 U.S.C. § 331, 21 U.S.C. § 352(f), 21 C.F.R. §
310.3 (h)(4) and (5); see also 65 Fed. Reg. 14286, 14286 (Mar. 16, 2000) (“[A]n approved new
drug that is marketed for a ‘new use’ is also ‘misbranded’ under the FDCA, because the labeling
of such a drug would not include ‘adequate directions for use.’”). Section 352 of title 21 of the
United States Code lists situations in which a drug is illegally misbranded, including but not
limited to situations where: (1) the drug’s labeling is “false or misleading in any particular;” (2)
the drug’s labeling does not bear adequate direction for use; or (3) the drug’s labeling does not

bear “adequate warnings against use in those pathological conditions or by children where its use

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may be dangerous to health, or against unsafe dosage or methods or duration of administration or
application, in such manner and form, as are necessary for the protection of users... .” See 21
U.S.C. § 352(a) and (f).

24. The term “labeling” encompasses the actual label attached to the drug’s
immediate container, as well as all “other written, printed, or graphic matter (1) upon any article
or any of its containers or wrappers, or (2) accompanying such article.” 21 C.F.R. § 321(m).
The term has been construed to include a variety of drug company promotional materials,
including booklets, pamphlets, and literature that is textually related to the product, even when
disseminated without the presence of the drug. See Kordel v. United States, 335 U.S. 345, 349
(1948); V.E. Irons, Inc. v. United States, 244 F.2d 34, 39 (1st Cir. 1957). In determining if a
drug’s labeling or advertising is misleading and thus misbranded, one must examine “(among
other things) not only representations made or suggested by statement, word, design, device, or
any combination thereof, but also the extent to which the labeling or advertising fails to reveal
facts material in the light of such representations or material with respect to consequences which
may result from the use of the article” as described by the labeling or advertising or the
customary or usual use of the article. 21 U.S.C. § 321(n).

25. In order for a drug’s labeling to include “adequate directions for use,” the
directions must allow a layman to use the drug safely and for its “intended use.” See 21 C.F.R. §
201.5. The “intended use” of a drug refers to “the objective intent of the person legally
responsible for the labeling of drugs.” See 21 C.F.R. § 201.128. “The intent is determined by
such persons’ expressions or may be shown by the circumstances surrounding the distribution of
the article,” and “may, for example, be shown by labeling claims, advertising matter, or oral or

written statements by such persons or their representatives.” /d. Thus, if a manufacturer

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promotes a drug for a use for which the label does not provide adequate directions for use or is
otherwise false and misleading, misbranding has occurred. This is so regardless of whether the
drug is otherwise eligible for reimbursement by a government health program.

26. | Pharmaceutical manufacturers may not use reprints, reference texts or Continuing
Medical Education (“CME”) programs or any other devices as tools to “promote” off-label uses.
Over the years, the FDA has issued regulatory guidances to aid manufacturers in distinguishing
between illegal promotional strategies and the legitimate non-promotional dissemination under
very specific circumstances of off-label information where it consists of genuinely scientific
article reprints unedited by the manufacturer. See, e.g., Guidance for the Industry: Good Reprint
Practices for the Distribution of Medical Journal Articles and Medical or Scientific Reference
Publications on Unapproved New Uses of Approved Drugs and Approved or Cleared Medical
Devices, 74 Fed. Reg. 1694-01 (Jan. 13, 2009). These FDA guidances have never altered the
FDA’s long-standing prohibition against marketing and promoting approved drugs for off-label
uses.

B. Reimbursement of Prescription Drugs under Medicaid, Medicare Part D,

CHAMPUS/TRICARE, CHAMPVA, Federal Employee Health Benefit Plan, and
Other Federal Healthcare Programs

i. Medicaid
27. Asa general rule, to be reimbursable under a state’s Medicaid program, a drug
must be included on the state’s formulary. Each state has its own means of deciding coverage,
but federal law sets forth requirements states must meet in excluding or restricting coverage. See
42 U.S.C. § 1396r-8. A state may exclude or restrict coverage of a drug in four instances:

(1) the prescribed use is not for a medically accepted indication;

(2) the drug is on a list of drugs excluded by the state from Medicaid
coverage;

(3) the drug manufacturer agreed to the restrictions on the drug in its rebate
agreement with Medicaid; or

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(4) the drug was excluded from the state’s drug formulary.

31 U.S.C. § 1396r-8(d)(1). In addition, states may use prior authorization programs or preferred
drug lists to control potential abuses of drugs, such as prescriptions for an indication that is not a
medically accepted indication.

28. A “medically accepted indication” is a use that is listed in the labeling approved
by the FDA or “the use of which is supported by one or more citations included or approved for
inclusion in” one of the drug compendia identified by the Medicaid statute. 42 U.S.C. § 1396r-
8(k)(6) (emphasis added). These compendia are the American Hospital Formulary Service Drug
Information, the United States Pharmacopeia-Drug Information (or its successor publications),
and the DRUGDEX Information System. 42 U.S.C. § 1396r-8(g)(1)(B)G). The United States
Government and the states interpret “supported by” to require “some form of corroboration or
validation.” United States’ Statement of Interest in Response to Defendant’s Motion to Dismiss
Plaintiff's First Amended Complaint, United States ex rel. Rost v. Pfizer, Inc., 03-CV-11084, at
p. 5 (D. Mass. May 16, 2008); see also Centers for Medicare and Medicaid Release No. 141
(May 4, 2006) (“The statute requires coverage of off-label uses of FDA-approved drugs for
indications that are supported (as opposed to listed) in the compendia specified in section
1927(g)(1)(B)UD.”) (emphasis added).

29. States may establish drug formularies if they meet the following requirements.
See 42 U.S.C. § 1396r-8(d)(4). The formulary must be developed by a committee consisting of
pharmacists, physicians and other qualified individuals appointed by the governor or by the
state’s Drug Use Review (“DUR”) board consisting of healthcare professionals who have

recognized knowledge and expertise in the prescription, dispensing and monitoring of outpatient

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drugs, drug use review, and medical quality assurance. 42 U.S.C. § 1396r-8(d)(4)(A) and §
1396r-8(g)(3).

30. | The formulary must include every drug for which a manufacturer has entered into
a Medicaid rebate agreement. 42 U.S.C. § 1396r-8(d)(4)(B). The state may, however, exclude a
drug from the formulary if: (1) the drug is used for an on-label use -- or an off-label use that is a
medically accepted indication based on compendia -- but the drug does not have a significant,
clinically meaningful therapeutic advantage over other drugs on the formulary; and (2) the state
provides a written explanation, which is available to the public, of why the drug is excluded. 42
U.S.C. § 1396r-8(d)(4)(C). Finally, any drugs excluded from the formulary must nevertheless be
available to Medicaid enrollees under a prior authorization program. 42 U.S.C. § 1396r-
8(d)(4)(D).

31. States generally have some method for drug manufacturers to request that its drug
be added to the states’ “preferred drug lists.” In the majority of states, the Pharmaceutical and
Therapeutics committee or the DUR board makes the decision on whether to add drugs to the
state Medicaid program’s preferred drug list. Generally, these committees announce that they
will conduct a review of a class of drugs. At that time, a drug manufacturer may submit
information to the committees to be considered for the drug list. A minority of states, such as
Indiana, Montana, Nevada and Texas, require drug manufacturers to submit an application to be
placed on the drug list. As part of the Texas application, drug manufacturers are required to
expressly certify compliance with all laws, regulations and rules applicable to the Medicaid
program, including the federal and state Anti-Kickback statutes.

32. Pharmaceutical Therapeutics Committees and DUR boards are required to

continually “assess data on drug use against predetermined standards,” using the compendia as

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the source for these standards. 42 U.S.C. § 1396r-8(g)(1) and (2). These standards include but
are not limited to monitoring for therapeutic appropriateness, overutilization and
underutilization, appropriate use of generic products, drug-drug interactions. Jd. The States’
continual assessment of drug data permits them the flexibility to determine the appropriate scope,
duration, and limitations on coverage of drugs on their formularies.

ii. Medicare Part D

33. | Medicare Part D is a federal program meant to subsidize the costs of prescription
drugs for Medicare beneficiaries. It was enacted as part of the Medicare Prescription Drug,
Improvement, and Modernization Act of 2003 and went into effect on January 1, 2006. Part D
only covers prescription drugs and will not assist with any other medical procedure. Among
those individuals eligible for Medicare Part D are individuals with dual-eligibility, i.e.,
beneficiaries enrolled in both Medicare and Medicaid, who prior to 2006 had received outpatient
drug benefits though Medicaid. Although Medicare Part D is a component of Medicare, each of
the fifty states and the District of Columbia are required to make a contribution to the United
States government to defray a portion of the cost of Medicare Part D for beneficiaries whose
Medicaid drug coverage has been assumed by Medicare Part D. 42 C.F.R. § 423.910(a) (2008).

34. | A Medicare beneficiary enrolled in Medicare Part D chooses a Prescription Drug
Plan (PDP), which is administered by a private insurance company, or “sponsor,” based upon the
beneficiary’s specific drug requirements. Part D sponsors are required by the Medicare
Prescription Drug, Improvement, and Modernization Act of 2003 to offer, at a minimum, a basic
prescription drug benefit that is either the standard prescription drug benefit or is actuarially
equivalent to the standard benefit. The standard costs structure makes beneficiaries responsible

for certain costs, which may include a monthly premium, an annual deductible, and coinsurance.

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35. In 2008, for example, the standard drug benefit had a beneficiary deductible of
$275. In the initial phase of the Part D benefit, after beneficiaries paid the deductible, they
contributed twenty-five percent coinsurance toward their drug costs and the plan paid the
remaining seventy-five percent until combined beneficiary and plan payments reached $2,510.
After combined payments reached $2,510, beneficiaries entered the coverage gap phase of the
benefit, or “donut-hole,” in which they were responsible for 100 percent of their drug costs. The
catastrophic coverage phase began when a beneficiary’s out-of-pocket costs reached $4,050.
This amount included a beneficiary’s deductible and coinsurance payments. Once beneficiaries
reached $4,050 in out-of-pocket costs, they contributed approximately five percent in
coinsurance toward their drug costs. Of the remaining ninety-five percent of drug costs, the Part
D sponsors are responsible for approximately fifteen percent while Medicare pays eighty
percent.

36. Before the beginning of the plan year, sponsors are required to submit a bid for
each plan that they intend to offer. The bid is an estimate of the average costs to provide the
basic benefit per beneficiary. Throughout the year, the Centers for Medicare & Medicaid
Services (“CMS”) makes prospective payments to sponsors for three subsidies based on
sponsors’ approved bids. These subsidies are: (1) the direct subsidy, (2) the reinsurance subsidy,
and (3) the low-income cost-sharing subsidy. The direct subsidy, together with beneficiary
premiums, is designed to cover the sponsor’s cost of providing the benefit to each beneficiary.
The reinsurance subsidy covers the Federal Government’s share of drug costs for beneficiaries
who have reached catastrophic coverage. The low-income cost-sharing subsidy covers the

Federal Government’s portion of the cost-sharing payments for certain low-income beneficiaries.

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At the end of the plan year, CMS reconciles these prospective payments with the actual costs
incurred by the plan sponsors.

37. All Part D plan sponsors submit data and information necessary for CMS to
determine and make payment. Every time a beneficiary fills a prescription covered under Part D,
plan sponsors must submit a summary called the prescription drug event (“PDE”) record. The
PDE record contains drug cost and payment data that enable CMS to administer the Part D
benefit. Part D plan sponsors submit one PDE record each time a Part D covered drug is
dispensed to its enrollees, even for those events in which enrollees have 100 percent cost sharing
(1.e., they are in the coverage gap or deductible phase).

38. | CMS uses the National Council for Prescription Drug Programs industry standard
for collecting PDE data. The PDE data contain information on the beneficiary, plan, pharmacy,
and prescribing physician, as well as information about the event, including the date, quantity
dispensed, number of days supplied, national drug code, control number, and the amount
reimbursed to the pharmacy by the plan.

39. Part D covered drugs are defined as drugs available only by prescription, which
are used and sold in the United States and used for a medically accepted indication, biological
products, insulin and vaccines. See 42 C.F.R. § 423.100. Medicare Part D’s definition of a
“medically accepted indication” is the same as Medicaid’s. See 42 C.F.R. § 423.100, 42 U.S.C.
§§ 1396r-8 (g)(1)(B)(i) and (k)(6). Part D sponsors are responsible for ensuring that covered
Part D drugs are prescribed for “medically accepted indications.” Some Part D sponsors use
prior authorization programs to ensure such compliance. Victoza is listed on PDP formularies

for Medicare Part D and is reimbursable under Medicare Part D plans across the country.

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iii. CHAMPUS/TRICARE, CHAMPVA, and Federal Employee Health
Benefit Plan

40. In addition to Medicaid and Medicare Part D, the federal and state governments
reimburse a portion of the cost of prescription drugs under several other federal and state health
care programs, including but not limited to CHAMPUS/TRICARE, CHAMPVA, and the Federal
Employees Health Benefit Plan.

41. The Civilian Health and Medical Program of the Uniformed Services
(“CHAMPUS”) and TRICARE, a continuation of CHAMPUS, are federally funded uniformed
services health care programs for active duty and retired service members, members of the
National Guard and Reserve, service members’ families, survivors of service members, and
certain former spouses of service members. The Civilian Health and Medical Program of the
Department of Veterans Affairs (““CHAMPVA”), is a federally funded healthcare program for
the families and survivors of veterans who have been rated permanently and totally disabled for a
service-connected disability and for the survivors of a military member who died in the line of
duty, not due to misconduct. The Federal Employees Health Benefit Plan is administered by the
Office of Personnel Management and provides health insurance for federal employees, retirees,
and survivors. Coverage of prescription drugs under these programs is similar to coverage under
the Medicaid program. See, e.g., 32 C.F.R. §§ 199.2 and 199.4(g)(15)”~); TRICARE Policy
Manual 6010.54-M, Chapter 8, Section 9.1(B)(2) (August 2002); CHAMPVA Policy Manual,

Chapter 2, Section 22.1, Art. II.

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Cc. Prohibition of Kickbacks Associated with Medicaid, Medicare,
CHAMPUS/TRICARE, CHAMPVA, and Federal Employee Health Benefit Plan
Prescriptions

i. Federal Anti-Kickback Statute
42. The Medicare-Medicaid Anti-Fraud and Abuse Amendments, known as the
Medicare Anti-Kickback Statute (“Anti-Kickback Statute”), 42 U.S.C. § 1320a-7b(b), make it
illegal for an individual knowingly and willfully to offer or pay remuneration in cash or in kind
to induce a physician to order a good or service that is reimbursed by a federal healthcare
program. See 42 U.S.C. § 1320a-7b(b)(2). “Remuneration” is broadly defined to include
anything of value offered or paid in return for purchasing, ordering, or recommending the
purchase or order of any item reimbursable by a federal healthcare program. See Department of
Health and Human Services, Office of Inspector General Compliance Program Guidance for
Pharmaceutical Manufacturers, 68 Fed. Reg. 23731, 23734, 23737 (May 5, 2003).
43. Specifically, in pertinent part, the Anti-Kickback Statute provides:
(b) Illegal remuneration
1. whoever knowingly and willfully solicits or receives any
remuneration (including any kickback, bribe, or rebate) directly or
indirectly, overtly or covertly, in cash or in kind—

(A) in return for referring an individual to a person for the
furnishing or arranging for the furnishing of any item or
service for which payment may be made in whole or in part
under a Federal health care program, or

(B) in return for purchasing, leasing, ordering, or arranging for
or recommending purchasing, leasing, or ordering any
good, facility, service, or item for which payment may be
made in whole or in part under a Federal health care

program,

shall be guilty of a felony and upon conviction thereof, shall be fined not more
than $25,000 or imprisoned for not more than five years, or both.

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2. whoever knowingly and willfully offers or pays any remuneration
(including any kickback, bribe, or rebate) directly or indirectly,
overtly or covertly, in cash or in kind to any person to induce such
person—

(A) to refer an individual to a person for the furnishing or
arranging for the furnishing of any item or service for
which payment may be made in whole or in part under a
Federal health care program, or

(B) to purchase, lease, order or arrange for or recommend
purchasing, leasing or ordering any good, facility, service,
or item for which payment may be made in whole or in part
under a Federal health care program,

shall be guilty of a felony and upon conviction thereof, shall be fined not more
than $25,000 or imprisoned for not more than five years, or both.

42 U.S.C. § 1320a-7b(b). Those who violate the statute also are subject to exclusion from
participation in federal health care programs, and civil monetary penalties of up to $50,000 per
violation and up to three times the amount of remuneration paid. 42 U.S.C. § 1320a-7(b)(7) and
42 U.S.C. § 1320a-7a(a)(7).

44. The purpose of the Anti-Kickback Statute is to prohibit such remuneration in
order to secure proper medical treatment and referrals and to limit unnecessary treatment,
services, or goods that are based not on the needs of the patient but on improper incentives given
to others, thereby limiting the patient’s right to choose proper medical care and services. See
Medicare and Medicaid Programs; Fraud and Abuse OIG Anti-Kickback Provisions, 54 Fed.
Reg. 3088, 3089 (proposed Jan. 23, 1989) (to be codified 42 C.F.R. pt. 1001) (“[I]t is necessary
for the fiscal integrity of the Medicare and Medicaid programs to assure that physicians exercise
sound, objective medical judgment when controlling admittance [of new drugs and medical

devices] to...” the medical marketplace.”).

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45. Paying kickbacks taints an entire prescription, regardless of the medical propriety

of its use. The kickback inherently interferes with the doctor-patient relationship and creates a

conflict of interest, potentially putting the patient’s health at risk. Any defendant convicted

under the statute is automatically barred from participating in federal and federally-funded
healthcare programs.

ii. OIG, PhRMA, AMA and ACCME’s Guidelines on the Manufacturer-

Doctor Relationship and Behaviors that Violate the Anti-Kickback
Statute

46. Recognizing that the Anti-Kickback Statute has been applied broadly, the OIG
has acknowledged that liability under the statute will ultimately turn on intent. See Department
of Health and Human Services, Office of Inspector General (“OIG”) Compliance Program
Guidance for Pharmaceutical Manufacturers, 68 Fed. Reg. 23731 (May 5, 2003). In order to
assist pharmaceutical manufacturers, the OIG issued a guidance in May 2003 that not only stated
its interpretation of the Anti-Kickback statute, but also highlighted activities that may give rise to
liability under the statute. See id) The OIG Guidance also directed drug manufacturers to review
the PhRMA Code, the ACCME standards relating to CMEs, and an ethical opinion issued in
June 1992 and amended in April 2001 by the AMA stating its guidelines to govern doctors’
acceptance of gifts from pharmaceutical manufacturers. See AMA Opinion 8.061 (1992,
amended 2001); PhRMA Code (2003); ACCME Standards (2004). All of these industry
guidelines draw plain lines of demarcation for acceptable and unacceptable behavior under the
Anti-Kickback statute.

47. |The OIG’s Guidance addressed specific practices commonly arising in the
relationship between a drug manufacturer and physicians that present problems. /d. at 23738.
Of particular concern to the OIG were “preceptorships,” educational and research funding,

CMEs, consulting and advisory arrangements, and gifts of more than trivial value to physicians,

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such as entertainment, recreation, travel, and meals. /d. The OIG was also concerned about
payments to physicians to: 1) listen to sales representatives market their drugs, 2) access
marketing web sites, or 3) perform “research” for drug manufacturers. /d.

48. The AMA, PhRMA and ACCME guidelines have suggested similar limits on
pharmaceutical activities. Where the three guidelines share the same perspectives on improper
activities, one can presume these activities are likely to violate the federal Anti-Kickback
statute.*

49, The issuance of these guidelines by the OIG, AMA, PhRMA and ACCME, in
addition to the enactment of the Anti-Kickback Statute itself, demonstrates that federal and state
health care programs consider compliance with the Anti-Kickback Statute a prerequisite to
receiving or retaining reimbursement payments from Medicaid, Medicare Part D, and other
federal health care programs.

VI. NOVO NORDISK’S SCHEME TO SELL VICTOZA THROUGH OFF-LABEL
MARKETING AND ILLEGAL KICKBACKS

A. Diabetes & Victoza Overview
i. Type 2 Diabetes
50. Victoza, the drug at issue in this case, is indicated for use by patients who have

type 2 diabetes and are unable to control their disease with commonly prescribed oral
medications. Type 2 diabetes is a disease characterized by high levels of blood glucose or sugar
stemming from insulin resistance, a condition in which overworked beta cells in the pancreas fail
to properly release the hormone insulin. Insulin resistance is a precursor to the development of
type 2 diabetes, which is characterized by an insulin deficiency. During digestion, the body

breaks down all of the sugars and starches from food into glucose, which is the basic fuel for the

 

* The three guidelines all address several pharmaceutical activities, such as gifts, entertainment, conferences, CMEs, and
consultants. The ACCME standards address only CME activities.

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cells in the body. GLP-1 (glucagon-like peptide-1) is a hormone produced in the gut that aids in
the release by beta cells in the pancreas of the right amount of insulin. In non-diabetics, GLP-1
stimulates the beta cells to release an appropriate amount of insulin which conveys the glucose
from the blood into the cells to be used for energy. In individuals with type 2 diabetes, the beta
cells gradually stop releasing enough insulin, and in some cases, the beta cells die. As a result,
when these individuals digest food, in the absence of insulin the glucose remains in the blood
and is not transported to the cells to be used for energy, which may lead to diabetes
complications.’

51. According to the Centers for Disease Control and Prevention, 23.6 million people,
or approximately 7.8% of the American population, have diabetes.> And, according to the
American Diabetes Association, an additional fifty-seven million people in the United States are
pre-diabetic, a condition in which individuals have blood glucose levels that are higher than
normal but not enough to be considered diabetic.° Type 2 diabetes is the most common form of
diabetes; it accounts for about ninety to ninety-five percent of all diagnosed cases of diabetes.’
Type 2 diabetes is more prevalent among African Americans, Latinos, Native Americans, Asian
Americans, Native Hawaiians, and other Pacific Islanders, as well as the elderly and the
underprivileged.®

52. While genetics appear to play a role in causing type 2 diabetes, the disease is also
correlated with abdominal obesity. Individuals with type 2 diabetes may be able to manage the

disease or potentially reverse it through a healthy diet and regular exercise. Indeed, by one

 

4 See — Centers for Disease Control and Prevention, Diabetes Public Health Resource,

http://www.cde.gov/diabetes/consumer/learn.htm.
5 Centers for Disease Control and Prevention, National Diabetes Fact Sheet, 2007,
http://www.cdc.gov/diabetes/pubs/pdfndfs_2007.pdf.
° American Diabetes Association, Prediabetes, http://www.diabetes.org/diabetes-basics/prevention/pre-diabetes/.
Id.
* American Diabetes Association, Diabetes Basics: Type 2, http:/www.diabetes.org/diabetes-basics/type-2/.

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estimate, eighty percent of type 2 diabetes cases are preventable by changing diet, increasing
physical activity and improving the living environment. No medication can claim such curative
or preventative powers. Thus, diet and exercise form the bedrock for any public health plan for
treating and preventing type 2 diabetes. Without effective prevention and control programs
focused on diet and exercise, the incidence of diabetes, already epidemic, is likely to rise further.
In fact, in the United States, the incidence of type 2 diabetes rose by twenty-nine percent
between 2007 and 2010.

53. The goal with any diabetes treatment is to maintain a normal blood glucose level,
which is 70 to 100 milligrams/deciliter when fasting. Diabetics on medication often have
difficulty maintaining their blood glucose levels within that range. When blood glucose levels
fall below 70 mg/dl, the condition is called hypoglycemia. When blood glucose levels rise above
130 mg/dl if fasting or above 180 mg/dl if post-meal, the condition is called hyperglycemia.
Both conditions can have dangerous consequences for diabetics’ health.

54. In addition to checking their blood glucose level daily, diabetics should also have
an AIC test performed every two to three months to determine their average blood glucose
control. An AIC test measures the percentage of glycated hemoglobin, or HbAIc, in the blood.
Hemoglobin, a protein that binds with sugars such as glucose, is inside red blood cells and
carries oxygen from the lungs to all the body’s cells. With uncontrolled diabetes, too much
glucose is in the bloodstream, and this extra glucose in the red blood cells binds (or glycates)
with the hemoglobin. The more excess glucose in the blood, the more hemoglobin gets glycated.
Glycation leads to substantial damage to the body’s cells. This damage may result in the
stiffening of the collagen in the blood that may lead to high blood pressure and possible stroke.

By performing the A1C test, the patient gets an overview of his or her average blood glucose

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control for the past few months. Blood glucose levels and thus diabetes are considered
controlled when a patient’s A1C is less than seven percent.

55. For those cases in which the condition progresses despite any attempts to improve
diet and exercise, diabetes medications or insulin therapy, or a combination of treatment
methods, may be necessary depending on the individual’s blood sugar level and other health
problems. First, a doctor may begin treatment with monotherapy by prescribing a diabetes
medication. Diabetes medications traditionally used at this juncture include (1) sulfonylureas
and meglitinides, which stimulate the pancreas to release more insulin; (2) biguanides such as
metformin, which lower blood glucose levels by decreasing the amount of glucose produced by
the liver and by making muscle tissue more sensitive to insulin so that glucose can be absorbed;
(3) thiazolidinediones, which improve insulin resistance in muscle and fat tissue; (4) alpha-
glucosidase inhibitors, which block enzymes that digest starches and slow the rise in blood
glucose levels, and (5) dipeptidyl peptidase IV (DPP-4) inhibitors, which lower blood glucose
levels by increasing insulin secretion and reducing sugar production. Of all the diabetes
medications, metformin is the most commonly prescribed drug used to treat type 2 diabetes.

56. The second step in controlling diabetes if one medication alone is insufficient is to
add one of several other oral or injected diabetes medications. Victoza is one of the medications
in the class of injected drugs.

57. These types of diabetes medications are only for patients whose bodies still
produce some insulin. Type 2 diabetics who do not control their diabetes gradually develop
“beta-cell failure,” which means that the beta cells in the pancreas no longer release insulin in
response to high blood glucose levels. At this stage, these individuals will not be able to manage

their diabetes with medications alone and therefore require insulin injections. Stated differently,

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treatment of type 2 diabetes with insulin injections is reserved for relatively advanced diabetes in
patients with significantly compromised pancreatic function.

58. Since the discovery of insulin in 1921, doctors have used many forms of insulin
injections as a method of treatment for controlling blood sugar levels. The types of insulin
products that exist today include rapid-acting insulin, long-acting insulin, and intermediate
options. A doctor may instruct a patient to use a different type of insulin during the day and
night depending on the patient’s needs. And insulin may be administered through several
methods, including injections from a fine needle and syringe, an insulin pen injector, or an
insulin pump. Depending on the nature of the diabetes, doctors may prescribe insulin therapy
either in combination with diabetes medications or as a monotherapy.

59. In addition to insulin and the medications mentioned above, other synthetic drugs
have recently developed. The role of the hormone glucagon-like peptide-1 (GLP-1) in regulating
beta cells’ release of insulin was not understood until the late 1970s and early 1980s, when Dr.
John Eng discovered that the saliva of a lizard, the Gila monster, contained the hormone exenide-
4, which is similar to human GLP-1.” The discovery led to the market entry of the first synthetic
GLP-1 agonist, exenatide, in April of 2005. The theory was, and is, that by supplementing the
body’s supply of GLP-1, one could stimulate malfunctioning beta cells to again produce insulin
as needed. Exenatide, which is marketed as Byetta by Eli Lilly and manufactured by Amylin
Pharmaceuticals, Inc., is Victoza’s main competitor drug. The FDA approved Byetta in April of

2005 for use by individuals with type 2 diabetes who are unable to contro] their blood sugar

 

° See BYETTA (exenatide) Injection The Discovery and Development of the First GLP-1 Receptor Agonist for Treatment of
Type 2 Diabetes, http://www.lilly.com/pdf/BYETTA_History_Backgrounder!20209.pdf, see also American Diabetes
Association, Other Injectable Medications, http://www.diabetes.org/living-with-diabetes/treatment-and-
care/medication/other-injectable-medication.html.

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levels with commonly prescribed oral medications.’ Like Victoza, Byetta is a non-insulin,
injectable prescription medicine.
ii. Victoza

60. Victoza (scientific name liraglutide), manufactured and marketed by Novo
Nordisk, is a non-insulin medication first approved for use in the United States on January 25,
2010.

a. Indication

61. According to the current label, Victoza is a “glucagon-like peptide-1 (GLP-1)
receptor agonist indicated as an adjunct to diet and exercise to improve glycemic control in
adults with type 2 diabetes mellitus.” Immediately below the label’s indication is a section
entitled “Important Limitations of Use,” which warns that the drug has not been studied in
conjunction with insulin, and which notes first and foremost, “not recommended as first-line
therapy for patients who have inadequate glycemic control on diet and exercise.” In other
words, the FDA limited Victoza’s approval to use in patients who do not take insulin, and even
then, only as an add-on medication when neither diet and exercise alone, nor diet and exercise
with a first-line non-insulin drug, have controlled blood-glucose levels.

62. Diabetes specialists generally consider metformin to be the gold-standard among
first-line, non-insulin diabetes drugs. Victoza’s label reflects Victoza’s approval for use when
the first-line choice, such as metformin, fails, but this failure is not common; most patients
tolerate metformin well.

b. Means of administration and dosage
63. Victoza is administered through a disposable, pre-filled, multi-dose pen with

injection needles. Each pen contains a 3 mL clear, colorless solution of Victoza equivalent to 18

 

'° FDA Approval Letter for Byetta, http://www.accessdata.fda.gov/drugsatfda_docs/appletter/2005/021773ltr.pdf.
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mg liraglutide—the active ingredient—and several inactive ingredients. And each individual pen
delivers doses of 0.6 mg, 1.2 mg, or 1.8 mg. Although the pen is a multi-dose pen, the injection
needle should be changed after each use and the pen should never be shared between patients.

c. Efficacy

64. According to its label, Victoza, like naturally-produced GLP-1, activates the
GLP-1 receptor in beta cells in the pancreas, leading to insulin release in the presence of elevated
glucose concentrations. Insulin secretion then subsides as blood glucose levels decrease.

65. To support Victoza’s NDA, Novo Nordisk submitted five company-sponsored
trials entitled “Liraglutide Effect & Action in Diabetes” or “LEAD” 1 through 5. Describing the
LEAD trials in logical rather than numerical order, as sales representatives are taught to do,
LEAD-3 studied the effect of Victoza as “monotherapy,” that is, accompanied by no other
antidiabetic drugs, versus the effect of a sulfonylurea (“SU”) and versus a placebo. LEAD-2
studied Victoza in combination with metformin, versus metformin alone and versus metformin
combined with an SU. LEAD-1 combined Victoza with an SU, versus an SU alone and versus
an SU combined with a thiazolidinedione (“TZD”). LEAD-4 and LEAD-5 added third agents to

the therapy."

 

'' LEAD 4 and LEAD 5 studied liraglutide plus two add-on therapies. LEAD 4 studied liraglutide plus metformin and TZD
versus metformin and TZD. LEAD 5 studied liraglutide plus SU and metformin versus glargine plus SU and metformin.

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66. All five LEAD trials are outlined in the following table:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cos Se | _LEAD-3. _LEAD-4 | LEAD-5
Test protocol
~Principal Agent Liraglutide | Liraglutide | Liraglutide | Liraglutide Liraglutide
-Combination Agent(s) (None) Metformin SU Metformin Metformin
TZD SU
Comparator protocol
~Regimen 1— SU Metformin SU (None) Insulin glargine
Active group SU TZD Metformin
SU
-Regimen 2—
Parallel group (None) Metformin SU Metformin Metformin
TZD SU
67. Researchers concluded, as summarized on Victoza’s label, that Victoza as

monotherapy (LEAD-3), as add-on to metformin (LEAD-2), as add-on to SU (LEAD-1), as add-
on to metformin and TZD (LEAD-4), and as add-on to metformin and SU (LEAD-5) lowered the
amount of glycated hemoglobin (HbAIC) more than did the placebo or the other add-on agents
of each trial... In combination with metformin, it outperformed metformin administered alone,
but not metformin in combination with an SU (LEAD-2). In combination with an SU, it
outperformed use of an SU alone and with TZD (LEAD-1). Finally, with TZD added to both
comparators, the combination that included Victoza outperformed the combination with
metformin and TZD alone (LEAD-4).

68. Victoza’s overall effect on glucose levels is statistically significant according to
these studies, but modest: a one to one-and-a-half percent drop in hemoglobin AIC. It was after
having measured this effect, and having taken consideration of the countervailing risks that are

or may be attributed to Victoza that the FDA approved Victoza solely as “adjunct” therapy and

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specifically advised, “Victoza is not recommended as first-line therapy for patients who have
inadequate glycemic control on diet and exercise.”

69. A sixth study also exists—LEAD-6, a company-sponsored study directly
comparing Victoza to Byetta. LEAD-6 was not submitted to the FDA as part of the NDA, nor
has it been submitted to the FDA since the filing of the NDA. It therefore is not referenced on
Victoza’s label.

d. Claims not supported by Victoza label

70. Victoza was specifically approved for treating type 2 diabetes. The FDA has not
approved Victoza for first-line therapy, reversal of type 2 diabetes, replacing or restoring beta
cells, preventing diabetes in pre-diabetics, or preventing beta cell “burnout” in patients with type
2 diabetes. Victoza’s label makes no mention of any of these possible effects. Accordingly,
promoting Victoza for any of these uses constitutes illegal off-label promotion.

71, While Victoza’s label does note that the drug’s mechanism of blood glucose
lowering involves a delay in gastric emptying, it does not connect that delay to any potential
weight loss effect. The label reflects that the five LEAD trials found greater weight loss with
Victoza than without, but it is essentially a side effect of treatment; the label makes no mention
of weight loss as an indication, and the FDA did not find the drug safe and effective as a weight
loss treatment in diabetic populations or otherwise.

e. Safety Concerns
72. Victoza is not a risk-free medication and may cause several serious health risks.

The Victoza label has a black box warning entitled “WARNING: RISK OF THYROID C-CELL

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TUMORS.””” Studies have shown that Victoza causes thyroid C-cell tumors in mice and rats.
The label also warns that “[i]t is unknown whether Victoza causes thyroid C-cell tumors,
including medullary thyroid carcinoma (MTC), in humans, as human relevance could not be
ruled out by clinical or nonclinical studies.” To further explore possible associations between
medullary thyroid cancer and liraglutide use, the FDA exercised its authority under the Food and
Drug Administration Amendments Act to require additional studies in animals and the
establishment of a cancer registry to monitor the annual incidence of medullary thyroid cancer
over the fifteen years following Victoza’s approval.

73. In addition to the black box warning, the label further warns that Victoza may
cause pancreatitis, which is a potentially deadly inflammation of the pancreas. According to a
March 4, 2010 article published in the New England Journal of Medicine, in the phase 2 and
phase 3 trials of liraglutide, which include the aforementioned LEAD trials, “there were seven
cases of pancreatitis reported among the 4,257 patients treated with liraglutide and only one case
in the 2381 patients in the comparator group.”

74. After adjustment for more patient-years of exposure to liraglutide, this finding of
pancreatitis represented a 4:1 imbalance between the liraglutide and comparator groups. The
small number of events makes it difficult to draw conclusions about causation, but this
imbalance, along with concerns about Byetta and sitagliptin, led the FDA to require Novo
Nordisk to perform post-approval mechanistic studies in animals and to conduct an
epidemiologic evaluation using a large insurance-claims database.

75. Additionally, patients who use Victoza “in combination with an insulin

secretagogue (e.g., sulfonylurea) may have an increased risk of hypoglycemia.” Hypoglycemia,

 

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The “black box” warning on a drug’s label is the FDA’s sternest warning. Such a warning, which is named a
“black box” warning for the black border that surrounds the text of the warning, indicates that a serious, adverse event is
associated with that particular drug.

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evidenced by symptoms such as cold sweats, headaches, fatigue, and convulsions, is a serious
condition occurring when a person’s blood glucose level is too low.

76. Cardiovascular risks may also accompany the use of anti-diabetic therapies. In
December 2008, the FDA published industry guidelines outlining recommendations for assessing
any cardiovascular risk conferred by new antidiabetic drugs. Drugs meeting this standard could
be approved for marketing, with more stringent evaluation of cardiovascular risks required after
approval. While analyses of cardiovascular events from the aforementioned combined phase 2
and phase 3 trials showed that this drug met the standard for ruling out an unacceptable increase
in cardiovascular risk, Novo Nordisk did not meet at that time the more stringent criteria outlined
for post-approval evaluations, and thus the FDA is requiring a post-approval study of
cardiovascular safety.'?

B. Novo Nordisk’s Off-Labeling Marketing Strategies and False Claims

77. With Victoza’s launch, Novo Nordisk committed to a marketing campaign that, as
it well knows, diverges from Victoza’s FDA-approved label in numerous respects. First, Novo
Nordisk misbrands Victoza for indications not approved by the FDA, including weight loss, use
as a first-line therapy, the treatment of pre-diabetics, the regression or reversal of type 2 diabetes,
restoration of beta cell function, and the prevention of beta cell “burnout.” Second, Novo
Nordisk downplays and thus misrepresents the risks of thyroid cancer and pancreatitis as spelled
out on Victoza’s label. Third, Novo Nordisk makes competitive claims about Victoza’s
supposed superiority to its competitor drug, Byetta, including directing sales representatives to

“detail” physicians on LEAD-6, the company-sponsored study that has not been submitted to the

 

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In addition, Victoza also causes many gastrointestinal side effects, including nausea, vomiting, constipation,
diarrhea, dyspepsia (upset stomach or indigestion), and a decreased appetite. Victoza may also cause patients to
develop anti-liraglutide antibodies and have immunogenicity-related events, including urticaria.

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FDA and is not included on Victoza’s label. Further, Novo Nordisk has included kickbacks to
physicians in its marketing efforts.

78. Although Novo Nordisk has policies and procedures in place that prohibited sales
representatives from engaging in off-label marketing, Novo Nordisk has not enforced these
procedures and in fact has turned a blind eye towards violations of laws, industry guidelines, and
company policies. These laws, guidelines, and policies were described in company documents,
including an “FDA Regulation of Advertising and Promotion” packet dated 2009 and a 2007
procedure packet from Novo Nordisk’s Promotion Review Board (“PRB”), which is the
department that reviews and approves promotional materials before use in the field. Both of
these documents were disseminated to Novo Nordisk’s sales force.

79. Yet, on the second-to-last slide of the company’s “FDA Regulation of
Advertising and Promotion packet, Novo Nordisk points out the risk of “FDA/Civil
enforcement,” and juxtaposes it with the benefit of “market potential.” It then advises its
employees to weigh for themselves the risks and benefits of complying with the regulations it
has just outlined.

80. | Kennedy’s territory was the Mobile West territory in Mobile, Alabama. Kennedy
personally witnessed that the following members of the Novo Nordisk’s management
participated in the off-label marketing scheme or knew of it yet did nothing to limit it: (1)
Kennedy’s direct supervisor, Mobile West District Business Manager, Paul Humenansky; (2)
Regional Business Director, Albert Vicario, who terminated Kennedy’s position with Novo
Nordisk; (3) Regional Sales Manager Gulf Coast Region, Christopher Dowdy; (4) Associate

Vice President, Diabetes Sales Southeast Area, Frank Jacobs, who oversaw the actions of Albert

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Vicario; (5) Vice President National Diabetes Sales, Andy Ajello; (6) Chief Compliance Officer,
Frank Bigley; and (7) Chief Medical Officer, Dr. Alan Moses.
i. Victoza Pre-Launch

81. | Novo Nordisk prepared for Victoza’s launch with the expectation that the drug
would be a blockbuster that would not only compete strongly against Eli Lilly’s Byetta, but also
significantly expand the patient population it serves to include pre-diabetics. Kennedy was
recruited because of her experience selling Byetta, and her hiring was part of the company’s
sales force expansion in anticipation of Victoza’s launch. While Kennedy was trained at
orientation in early 2009 to sell Novo Nordisk’s other diabetes drugs, such as Levemir (Novo
Nordisk’s long-acting insulin that was first launched four years ago) and NovoLog (Novo
Nordisk’s top-selling, rapid-acting insulin that was launched ten years ago), she had been
employed less than a year when she and the rest of the sales force were directed to market only
Victoza for the first three months of 2010.

82. Victoza was not actually approved until the last week of January 2010; sales
representatives were thus promoting Victoza even before Victoza’s approval and launch, and
before Novo Nordisk had an approved label for the drug. Kennedy’s Mobile West District
Business Manager, Paul Humenansky, specifically asked his sales representatives to begin
promoting Victoza to their physician targets before launch. Their specific instructions were to
answer questions from doctors regarding the anticipated black box warning on thyroid C-cell
tumors, including medullary thyroid carcinoma (MTC) (before receiving the final approved

Victoza label).

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ii. Victoza Launch

83. The FDA approved Victoza on January 25, 2010. The following day, Novo
Nordisk issued a press release on its Novo Nordisk, Inc. website (http://www.novonordisk-
us.com) announcing the approval. Novo Nordisk declared in the press release that “[iJn clinical
studies including use as monotherapy and in combination with standard diabetes treatments,
Victoza produced significant reductions in A1C and also was associated with weight loss.” Not
satisfied to stay within the limits of Victoza’s label, Novo Nordisk then quoted and endorsed
impermissible off-label competitive statements made by Dr. Alan J. Garber, MD, PhD, FACE,
Professor of Medicine, Biochemistry and Molecular Biology, and Cellular Biology Department
of Medicine Baylor College of Medicine Houston, Texas in which Dr. Garber stated that Victoza
“unlike many other diabetes therapies, does not promote weight gain and is associated with
weight loss in the majority of patients.” He added that Victoza “offers patients an attractive new
treatment option that has consistently performed well when compared to other currently available
treatments.”

84. ‘In early February 2010, Novo Nordisk assembled its national sales force for a
launch meeting whose educational purposes were eclipsed by extravagant partying rivaling
events common in the heyday of pharmaceutical marketing in the mid-1990s, before the sobering
effect of increased government oversight. Indeed, even the educational portion of the meeting
was extravagantly-produced and presented by entertainers. Victoza’s launch meeting signaled
that Novo Nordisk believed it was debuting a blockbuster and was flush with cash ready to be
spent on an army of well-paid sales representatives and to be poured into fat marketing budgets.

85. | Novo Nordisk’s entire sales force stayed at Las Vegas’s Venetian Hotel, and

attended a private Victoza launch party at the Tao Night Club—an exclusive night club where

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women pose provocatively in bathtubs filled with rose petals positioned throughout the club.
Novo Nordisk hired former “American Idol” singer Chris Daughtry to perform live at this private
event. Other paid performers included scantily-clad go-go dancers and Chippendales men. The
company prohibited Kennedy and other attendees from taking pictures. During the celebration,
Novo Nordisk distributed to a select group of VIP sales representatives martini glasses with
either a fake or real diamond in the bottom of each glass for the attendees to keep as a gift.
Gemologists were stationed at the club to inspect each diamond and determine which individuals
received one of the ten genuine, one-carat diamonds in their glasses. It was evident that Novo
Nordisk expected extravagant profits from Victoza to match its extravagant launch."

86. At educational meetings, Novo Nordisk hired celebrities to educate the sales force
about the new drug. The two hosts of MythBusters, a television program airing on the Discovery
Channel, gave one such presentation, live on closed circuit television, to the entire sales force as
they watched from the hotel. While some pharmaceutical companies hire preeminent physicians
to give medical lectures at such meetings, television celebrities delivered Novo Nordisk’s
program on Victoza’s clinical attributes, in an effort, for reasons best known to Victoza’s brand
team, boosting the lectures’ entertainment value, but not necessarily its scientific value.

87. The educational message in those and other sessions, supposedly justifying the
fanfare, was that Victoza represented a breakthrough in diabetes medicine. A// of the LEAD
studies, including LEAD-6, the off-label study comparing Victoza with Byetta, were covered.
Lecturers surmised that the LEAD trials’ results were explained by a mechanism of action in

which beta cells in the pancreas exposed to Victoza are actually replenished and restored,

 

"4 Victoza’s decadent launch party was far from unprecedented for Novo Nordisk. In March 2009, for example, Novo
Nordisk rented the Royal Caribbean’s largest cruise ship for an all-expenses-paid, sales representatives’ training-at-sea
session, which included unlimited alcoholic beverages and ports of call in Caribbean islands such as St. Thomas. On a
similar cruise in about 2007, when the liquor ran out before the ship reached Denmark, the crew had to arrange an
unscheduled stop in Western Europe.

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signaling the drug’s potential to prevent or reverse diabetes. Such theories receive no mention in
Victoza’s label.

88. | At one such session, Novo Nordisk gave sales representatives a “Victoza Launch
Roadmap,” which instructed sales representatives to leave the LEAD-6 study behind with the
physicians and not discuss it on calls to physicians. In the company break room just afterwards,
however, Humenansky announced that the prohibition on discussing LEAD-6 was “BS.” He
distributed reprints of LEAD-6 to his team, and instructed them to distribute it to doctors
proactively without prompting during calls and to detail physicians routinely on LEAD-6 and
competitive comparisons to Byetta. Novo Nordisk expected and intended district managers like
Humenansky to so direct their teams, discreetly and behind closed doors. Evidence of the use of
LEAD-6 is clearly demonstrated within Impact RX Report doctor’s comments, such as this one:
“Discussion about the comparision between Victoza and Byetta. Some of the information from
the LEAD 6 trial was discussed” provided following a sales representative’s call. See Ex. 1 Page
1/78.

89. Following the Las Vegas launch meeting, on February 16, 2010, Novo Nordisk
issued a second press release announcing Victoza’s availability in the United States market. In
that press release, Jurek Gruhn, president of Novo Nordisk, Inc., emphasized an off-label
indication by stating that “Victoza provides a once-a-day treatment that not only lowers blood
sugar, but helps to reduce weight.” Dr. Garber again added his praise for Victoza, exaggerating
the clinical support for Victoza and claiming that the drug had been “extensively studied both as
monotherapy, as well as in combination with current anti-diabetic medications, and has
consistently demonstrated glucose control in both scenarios.” Like Gruhn, Dr. Garber plugged

Victoza’s supposed efficacy for weight loss, and also downplayed the risk of hypoglycemia:

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“Victoza will provide patients with an effective therapy for type 2 diabetes that not only lowers
blood sugar, but shows weight loss and low risk of hypoglycemia.” Novo Nordisk apparently
mistakenly believed that its press release could safely meander off-label as long as the company
spoke through a mouthpiece.

iii. Victoza Post-Launch Off-Label Marketing Campaign

a. Novo Nordisk’s Sales Force and Medical Liaison Group Are
Structured to Allow Off-Label Marketing

90. Novo Nordisk structures its sales force and medical liaison group to suit the needs
of its off-label marketing scheme for Victoza. As shown in company literature, Novo Nordisk
refers to Victoza sales representatives as members of “Club V.” The Mobile West territory is
one among many “Club V” groups. During Kennedy’s tenure, she and her fellow sales
representatives in the Mobile West territory, including Matt Jones and Dawn Fredric, marketed
to primary care physicians, family practice physicians, and internists, and overlapped with two
other sales representatives, endo-diabetes care specialist Greg Wellborn and his partner John
Stranzl, who targeted specialists. Institutional diabetes care specialist Jill Purkey, meanwhile
made calls on hospitals within the territory.

91. | Novo Nordisk issues to each member of its sales force a physician target list or
“call plan,” containing the names of doctors to whom the sales representative must promote
Victoza. All doctors on Kennedy’s call plan participate in Medicare Part D, and certain doctors
on her plan were high Medicaid prescribers, including Raymond Broughton, Sheryar Anjum,
Hunte Eyston, Benjamin Gayle, Paul Smith, Karen Millender, Prince Uzoije, and Bobby Wright.
Novo Nordisk maintains targeted physicians lists in its AdvantEdge database in the form of an
exportable spreadsheet that can be printed but not downloaded. Relator’s top-target doctors for

Victoza in the Gulf Coast Region also included Greg McKelvey, Stephen Davis, Mary

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Honkanen, Kathleen Arnold, Edward Carlos, Donald Sanders, H. Ashurst, Lisa Burch, William
Hicks, Noah Whetstone, and Jacob Webster. These doctors’ names appear in a spreadsheet
customized for the Mobile West territory and disseminated to Kennedy and to Matt Jones, which
categorizes doctors based upon his or her Victoza segment (Fast Adopting Experts or Cost
Conscious GLP-1 Adopters), Plan of Action rating (Gold versus Silver or Bronze), and percent
market share given to competitor drugs Byetta and Januvia.

92. Sales representatives receive a new call plan with every new Plan of Action
(“POA”). Normally, sales representatives receive a new POA once a quarter, but because of
Victoza’s launch, sales representatives received a new POA in January and in February 2010.
Novo Nordisk’s Field Force Effectiveness group creates and maintains the POA and physicians
list.

93. | Novo Nordisk uses deciles and prescribing habits to tailor its off-label promotion
strategy to specific doctors. For example, physicians are placed in gold, silver, and bronze
deciles or within very specific categories such as “Fast Adopting Experts”, Safety Conscious
Byetta Users” or “Slow Adopter” category. The doctor’s placement on the continuum or in a
category depends on how likely the doctor is to prescribe Victoza. Kennedy’s top doctor was Dr.
McKelvey. For each of the doctors listed in the Plan of Action, Novo Nordisk prepared
individual spreadsheets containing more specific information.

94. Sales representatives use an electronic call note system to track their calls on
target doctors, but that system no longer allows for any free typing; it is essentially multiple
choice in form. The content of sales conversations is therefore, purposefully, not documented.
The system does, however, allow the company to track the frequency with which important

doctors are visited, and the quantity of samples left with doctors on each visit.

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95. | Novo Nordisk employs a separate group of employees in its Drug Information
Department called medical liaisons, who collectively possess more scientific education or
experience than sales representatives. They are meant to be seen as independent of the sales
division, and able to educate doctors both more fully and neutrally about Novo Nordisk’s
products. In reality, however, Novo Nordisk’s medical liaisons and sales representatives work
closely together to ensure the delivery of Victoza’s off-label message. While Novo Nordisk has
a standard Professional Information Request (“PIR”) process for sales representatives to request
a medical liaison professional visit for off-label discussions when spurred by a physician’s
question, the process is seldom needed in practice, because when sales representatives call on
high-prescribing doctors, medical science liaisons typically accompany the sales representatives
on these calls. Further, during these calls, the sales representatives do not excuse themselves
from liaisons’ discussions, as is standard policy within the industry. They sit “second chair” to
the medical science liaison throughout the call.

96. According to written company policies, medical science liaisons are not permitted
to proactively discuss off-label indications with doctors. Instead, these discussions should occur
only if a doctor requests a medical science liaison’s expertise on Victoza. The sales aspect and
the off-label discussion should be separate and distinct conversations. In practice, however,
medical liaisons commonly call on doctors, often at a representative’s invitation, specifically to
initiate an off-label discussion. Typically, the liaison will begin the call with an on-label
discussion of Victoza and then transition spontaneously into an off-label discussion. Given
medical science liaisons’ actual practices in the field, they are as much part of the sales force as
sales representatives. In addition, as described infra, medical science liaisons spearhead speaker

events.

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